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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                             BUTTE DIVISION

 UNITED STATES OF AMERICA,                           CR-14-30-BU-DLC
                     Plaintiff,                      FINDINGS AND
                                                   RECOMMENDATION
        vs.                                        CONCERNING PLEA
 ZACHARY RYAN MILLS,

                     Defendant.




      The Defendant, by consent, has appeared before me under Fed. R. Crim. P.

11 and has entered a plea of guilty to one count of conspiracy to possess

methamphetamine with intent to distribute in violation of2l U.S.C. § 846 (Count

I), as set forth in the Indictment. In exchange for Defendant's plea, the United

States has agreed to dismiss Count II of the Indictment.

      After examining the Defendant under oath, I have made the following

determinations:

      1. That the Defendant is fully competent and capable of entering an

informed and voluntary plea,



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      2. That the Defendant is aware of the nature of the charge against him and

consequences of pleading guilty to the charge,

      3. That the Defendant fully understands his constitutional rights, and the

extent to which he is waiving those rights by pleading guilty, and

      4. That the plea of guilty is a knowing and voluntary plea, supported by an

independent basis in fact sufficient to prove each of the essential elements of the

offense charged.

      The Court further concludes that the Defendant had adequate time to review

the Plea Agreement with counsel, that he fully understands each and every

provision of the agreement and that all of the statements in the Plea Agreement are

true. Therefore, I recommend that the Defendant be adjudged guilty of Count I of

the Indictment, and that sentence be imposed. I further recommend that Count II

of the Indictment be dismissed.

      This report is forwarded with the recommendation that the Court defer

a decision regarding acceptance until the Court has reviewed the Plea

Agreement and the presentence report.

      DATED this 26th day of March, 01


                                       ,    iah C. Lynch
                                       U . ed States Magistrate Judge

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